          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 1
                                                                     1 of
                                                                       of 16
                                                                          16




 1   CHRISTOPHER E. MARTIN (AZ. Bar No. 018486)
     admitted pro hac vice
 2   Email: martinc@sec.gov
     POLLY A. ATKINSON (CO. Bar No. 18703)
 3   admitted pro hac vice
     Email: atkinsonpolly@sec.gov
 4
     Attorneys for Plaintiff
 5   Securities and Exchange Commission
     1961 Stout Street, Suite 1700
 6   Denver, Colorado 80294
     Telephone: (303) 844-1106
 7
 8                          UNITED STATES DISTRICT COURT
 9                               DISTRICT OF NEVADA
10
      SECURITIES AND EXCHANGE
11    COMMISSION,
                                                 Case No. 20-cv-00511 -RFB-DJA
12                  Plaintiff,
13
             vs.
14
      BRADLEY C. REIFLER,                        STIPULATED PROTECTIVE ORDER
15
                    Defendant,
16                                               Judge Richard F. Boulware, II
      and                                        Magistrate Judge Daniel J. Albregts
17
18    FOREFRONT PARTNERS, LLC
      FOREFRONT CAPITAL SERVICES,
19    LLC, and
      PORT ROYAL-NCM, LLC,
20
                    Relief Defendants.
21
22          Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the parties,
23   Plaintiff Securities and Exchange Commission (“SEC”) and Defendant Bradley C.
24   Reifler and Relief Defendants Forefront Partners, LLC, Forefront Capital Services,
25   LLC, and Port Royal-NCM, LLC (collectively, “Defendants”), have agreed to the
26   terms of this Stipulated Protective Order (“Protective Order”); accordingly, it is
27   STIPULATED:
28
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 2
                                                                     2 of
                                                                       of 16
                                                                          16




 1         1.    Scope. All documents, materials, and information (herein collectively
 2   defined as “documents”) disclosed pursuant to the disclosure or discovery duties
 3   created by the Federal Rules of Civil Procedure, including without limitation
 4   documents produced, answers to interrogatories, responses to requests for admission,
 5   deposition testimony, and other information, as well as the documents discussed in
 6   Paragraph 3(b) below, shall be subject to this Order concerning Confidential
 7   Information as defined below. This Order is subject to the Local Rules of this District
 8   and the Federal Rules of Civil Procedure.
 9         2.    Confidential Information. As used in this Order, “Confidential
10   Information” means documents that are designated as Confidential Information (as
11   provided in Paragraph 3 of this Order) and falls within one or more of the following
12   categories: (a) information prohibited from disclosure by statute; (b) trade secrets or
13   other proprietary information; (c) research, technical, commercial or financial
14   information that the party has maintained as confidential; (d) medical information
15   concerning any individual; (e) personal identity information; (f) income tax returns
16   (including attached schedules and forms), W-2 forms and 1099 forms; or (g) personnel
17   or employment records.       Documents that are available to the public are not
18   Confidential Information.
19         3.    Designation.
20               (a)    A party may designate a document it is producing pursuant to the
21   disclosure or discovery duties created by the Federal Rules of Civil Procedure as
22   Confidential Information if it has determined in good faith that the document
23   constitutes Confidential Information as defined in Paragraph 2 of this Order. Whenever
24   possible and appropriate, the party designating documents as Confidential Information
25   must designate only those portions of a document, deposition, transcript, or other
26   material that contain the Confidential Information and refrain from designating the
27   entire document. To designate a document (or a portion of a document) as Confidential
28   Information, a party must a) place or affix the words “CONFIDENTIAL – SUBJECT


                                                 2
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 3
                                                                     3 of
                                                                       of 16
                                                                          16




 1   TO PROTECTIVE ORDER” on the document and on all copies in a manner that will
 2   not interfere with the legibility of the document (or, for documents such as
 3   spreadsheets that cannot easily be stamped with this label, by providing a slip sheet
 4   with this designation) and b) provide to the party receiving the designated documents
 5   an index of the designated documents. As used in this Order, “copies” includes
 6   electronic images, duplicates, extracts, summaries, or descriptions that contain the
 7   Confidential Information.     The markings “CONFIDENTIAL – SUBJECT TO
 8   PROTECTIVE ORDER” shall be applied and the index provided prior to or at the
 9   time that the documents are produced or disclosed, with the exception of those
10   documents described in Paragraph 3(b). Applying the marking “CONFIDENTIAL –
11   SUBJECT TO PROTECTIVE ORDER” to a document does not mean that the
12   document has any status or protection by statute or otherwise except to the extent and
13   for the purposes of this Order. Any copies that are made of any documents marked
14   “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” shall also be so
15   marked, except that documents that are attorney work product or protected by the
16   attorney-client communication privilege, indices, electronic databases or lists of
17   documents that do not contain substantial portions or images of the text of marked
18   documents and do not otherwise disclose the substance of the Confidential Information
19   are not required to be marked.
20                (b)   Documents produced by a party in the course of the SEC’s
21   investigation captioned In the Matter of Forefront Capital Management (D-3562)
22   (hereinafter, the “SEC Investigation”) and for which confidential treatment was
23   requested at the time of production, shall also be deemed to be Confidential Information
24   under this order. Within twenty-one (21) days after entry of this Order, any party
25   requesting confidential treatment of documents provided during the SEC’s
26   investigation shall provide a written index of the documents it is continuing to
27   designate as Confidential Information by Bates number, production date, or other
28   description (“Index of Confidential Investigative Documents”). Any investigative


                                                3
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 4
                                                                     4 of
                                                                       of 16
                                                                          16




 1   documents that were provided during the SEC’s investigation that are not listed on the
 2   Index of Confidential Investigative Documents, shall not be considered as containing
 3   Confidential Information as that term is defined in Paragraph 2 of this Order. Within
 4   twenty-one (21) days after production in this litigation or entry of this Order, whichever
 5   is later, and consistent with Paragraph 3(a), any party may retroactively designate as
 6   Confidential Information any other documents, data, information, or letters it
 7   previously produced or provided or transcripts of testimony a party or any of its past
 8   or present employees provided during the course of the SEC Investigation that the other
 9   party reproduced during this litigation.        Such retroactive designation shall be
10   accomplished by the designating party providing counsel for the non-designating party
11   a written index of the documents it is designating as Confidential Information by Bates
12   number (“Index of Retroactively Designated Confidential Investigative Documents”).
13   Upon receipt of the Index of Confidential Investigative Documents or Index of
14   Retroactively Designated Confidential Investigative Documents, the parties: (i) shall
15   not make any further disclosure or communication of such retroactively designated
16   documents except as provided for in this Order; (ii) shall take reasonable steps to notify
17   all persons known to have possession of any retroactively designated documents of the
18   effect of such designation under this Order; and (iii) shall take reasonable steps to
19   procure all copies of such designated documents from any persons known to have
20   possession of any such designated documents who are not entitled to receipt of same
21   under this Order.
22                (c)    Third Party Discovery. Any third party producing documents
23   pursuant to a subpoena issued in this matter may avail itself of the protections provided
24   in this Order by following the procedures in the Order for designating the documents
25   it produces as Confidential Information.
26                (d)    Inadvertent Disclosure of Privileged Documents. A party that
27   produces documents that is designated as Confidential Information pursuant to this
28   Order can request in writing that the receiving party return any such document that was


                                                 4
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 5
                                                                     5 of
                                                                       of 16
                                                                          16




 1   inadvertently produced that is privileged under the attorney-client privilege, work
 2   product doctrine, or any other recognized privilege, in accordance with the provisions
 3   of Federal Rule of Civil Procedure 26(b)(5)(B).
 4         4.     Depositions of Parties and Employees of Parties. Unless all parties
 5   agree on the record at the time the deposition testimony is taken, all deposition
 6   testimony taken of any party to this case or any party’s past and former employees
 7   shall be treated as Confidential Information for thirty (30) days after the transcript is
 8   delivered to any party or the witness. If the deposition is of a party or a current or
 9   former employee of any party, that party may serve a Notice of Designation to all
10   parties of record as to specific portions of the testimony that are designated
11   Confidential Information, and thereafter only those portions identified in the Notice of
12   Designation shall be protected by the terms of this Order. The failure to serve a timely
13   Notice of Designation shall waive any designation of testimony taken in that deposition
14   as Confidential Information, unless otherwise ordered by the Court.
15         5.     Protection of Confidential Documents.
16                (a)    General Protections. Confidential Information shall not be used
17   or disclosed by the parties, counsel for the parties, or any other persons identified in
18   subparagraph (b) for any purpose other than this litigation, including any appeal
19   thereof, except that nothing in this Order shall prevent Plaintiff from using Confidential
20   Information, or any other information, received prior to or during this litigation in a
21   manner consistent with its obligations under law concerning disclosure of documents,
22   including but not limited to its obligations under the Freedom of Information Act. In
23   addition, nothing in this Protective Order shall: a) interfere with the Commission’s use
24   of information for law enforcement activities or to regulate and administer the federal
25   securities law; or b) apply to or in any manner condition, limit, or infringe the
26   Commission’s congressionally-mandated and authorized obligation to cooperate with
27   other federal, state, local, or foreign law enforcement or regulatory agencies, including
28   without limitation sharing Confidential Information with other federal, state, local, or


                                                 5
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 6
                                                                     6 of
                                                                       of 16
                                                                          16




 1   foreign law enforcement and/or regulatory agencies. Plaintiff agrees that if counsel of
 2   record receives notice of a FOIA request for any Confidential Information designated
 3   by Defendants, they will notify Defendants in sufficient time in advance of any
 4   disclosure, so that either or both Defendants may timely object to any such disclosure.
 5                (b)   Limited Third-Party Disclosures. The parties and counsel for
 6   the parties shall not disclose or permit the disclosure of any Confidential Information
 7   to any third person or entity except as set forth in subparagraphs (1)-(9). Any person
 8   to whom Confidential Information is disclosed pursuant to these subparagraphs shall
 9   be advised that the Confidential Information is being disclosed pursuant to an order of
10   the Court, that the information may not be disclosed by such person to any person not
11   permitted to have access to the Confidential Information pursuant to this Protective
12   Order, and that any violation of this Protective Order may result in the imposition of
13   such sanctions as the Court deems proper. Any person to whom Confidential
14   Information is disclosed pursuant to subparagraphs (5)-(8) shall be required to execute
15   a copy of the form Attachment A (Acknowledgment of Understanding and Agreement
16   to Be Bound) in advance of being shown the Confidential Information, an executed
17   copy of which shall be maintained and made available to other parties upon good cause
18   shown and upon order of the Court. Subject to these requirements, the following
19   categories of persons may be allowed to review Confidential Information:
20                      (1)   Counsel. Counsel for the parties, employees of counsel
21                            who have responsibility for the action, and persons
22                            regularly employed or associated with the attorneys
23                            actively working on the case whose assistance is required
24                            by said attorneys in connection with this case;
25                      (2)   Parties.       Parties and parties’ employees, independent
26                            contractors,     officers,   and   directors,   including   SEC
27                            Commissioners;
28                      (3)   The Court and its employees and personnel;


                                                 6
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 7
                                                                     7 of
                                                                       of 16
                                                                          16




 1
 2                      (4)     Court Reporters and Recorders. Court reporters and
 3                              recorders,    including     videographers,     engaged     for
 4                              depositions or trial;
 5                      (5)     Contractors. Those persons specifically engaged for the
 6                              limited purpose of making copies of documents or
 7                              organizing or processing documents, including outside
 8                              vendors hired to process electronically stored documents,
 9                              and persons or entities hired to provide litigation support
10                              services in connection with this action;
11                      (6)     Consultants and Experts. Consultants, investigators, or
12                              experts who have been retained by the parties or counsel for
13                              the parties to assist in the preparation and trial of this action
14                              (including providing expert opinions and/or testimony);
15                      (7)     Deponents, witnesses, or potential witnesses;
16                      (8)     Author or Recipient. The author or recipient of the
17                              document (not including a person who received the
18                              document in the course of litigation); and
19                      (9)     Others by Consent. Other persons only by written consent
20                              of the producing party or upon order of the Court and on
21                              such conditions as may be agreed or ordered.
22                (c)   Control of Documents.             Counsel for the parties shall make
23   reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential
24   Information. Counsel shall maintain the originals of the forms signed by persons
25   acknowledging their obligations under this Order for a period of three years after the
26   termination of the case.
27                (d)   Unauthorized Disclosure of Confidential Information. If a
28


                                                  7
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 8
                                                                     8 of
                                                                       of 16
                                                                          16




 1   receiving party learns that, by inadvertence or otherwise, it has disclosed Confidential
 2   Information to any person or in any circumstance not authorized under this Order, the
 3   receiving party must immediately: (a) notify in writing the producing party of the
 4   unauthorized disclosures; (b) use its best efforts to retrieve all copies of the
 5   Confidential Information; (c) inform the person or persons to whom unauthorized
 6   disclosures were made of all the terms of this Order; and (d) request that such person
 7   or persons execute the “Acknowledgment of Understanding and Agreement to Be
 8   Bound” that is attached hereto as Attachment A.
 9         6.     Inadvertent Failure to Designate. An inadvertent failure to designate
10   a document as Confidential Information, or include it on the Index of Confidential
11   Investigative Documents or the Index of Retroactively Designated Confidential
12   Investigative Documents does not, standing alone, waive the right to so designate the
13   document; provided, however, that a failure to serve a timely Notice of Designation of
14   deposition testimony as required by this Order, even if inadvertent, waives any
15   protection for deposition testimony. If a party designates a document as Confidential
16   Information after it was initially produced or adds a document to the Index of
17   Confidential Investigative Documents or the Index of Retroactively Designated
18   Confidential Investigative Documents, the receiving party, on notification of the
19   designation, must make a reasonable effort to assure that the document is treated in
20   accordance with the provisions of this Order. No party shall be found to have violated
21   this Order for failing to maintain the confidentiality of a document during a time when
22   that document has not been designated, even where the failure to so designate was
23   inadvertent and where the document is subsequently designated as containing
24   Confidential Information or added to the Index of Confidential Investigative
25   Documents or the Index of Retroactively Designated Confidential Investigative
26   Documents.
27         7.     Filing of Confidential Information.
28                (a)    Any Confidential Information filed with the Court shall be redacted


                                                  8
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 9
                                                                     9 of
                                                                       of 16
                                                                          16




 1   in accordance with Rule 5.2 of the Federal Rules of Civil Procedure (“Rule 5.2”). If
 2   any party believes, in good faith, that additional categories of information should be
 3   redacted prior to filing any document produced during discovery, the parties agree to
 4   meet and confer and, if unable to reach an agreement, submit their dispute to the Court
 5   for resolution.
 6                 (b)   Unless the designating party agrees otherwise, until the Court issues
 7   a ruling that a document designated as containing Confidential Information does not in
 8   fact contain Confidential Information, no party may file any Confidential Information
 9   with the Court unless such filing is made under seal or the Confidential Information is
10   redacted. Any party wishing to file a document designated as Confidential Information
11   in connection with a motion, brief or other submission to the Court must comply with
12   Federal Rule of Civil Procedure 5.2, Local Rule 10-5, and this District’s ECF
13   Procedures.
14         8.      No Greater Protection of Specific Documents. Except on privilege
15   grounds not addressed by this Order, no party may withhold information from
16   discovery on the ground that it requires protection greater than that afforded by this
17   Order unless the party moves for an order providing such special protection.
18         9.      Challenges    by   a   Party        to   Designation   as   Confidential
19   Information. The designation of any document as Confidential Information is subject
20   to challenge by any party. The following procedure shall apply to any such challenge.
21                 (a)   Meet and Confer.             A party challenging the designation of
22   Confidential Information must do so in good faith, including because the party intends
23   to use the document in a manner for which the designation creates burdens to the
24   party’s use, and must begin the process by giving written notice to the party designating
25   the disputed information. The written notice shall identify the information to which
26   the objection is made and explain the basis for its belief that the confidentiality
27   designation was not proper. The parties agree to meet and confer regarding the notice
28   within five (5) business days.


                                                  9
         Case
         Case 2:20-cv-00511-RFB-DJA
              2:20-cv-00511-RFB-DJA Document
                                    Document 38
                                             37 Filed
                                                Filed 09/18/20
                                                      09/18/20 Page
                                                               Page 10
                                                                    10 of
                                                                       of 16
                                                                          16




 1                  (b)   Judicial Intervention. If the parties cannot resolve the objection
 2   within five (5) business days after the meet and confer, the party challenging the
 3   designation may file an appropriate motion requesting that the Court determine whether
 4   the disputed information should be subject to the terms of this Protective Order. This
 5   Protective Order will not affect the burden of proof on any such motion, or impose any
 6   burdens upon any party that would not exist had the Protective Order not been entered;
 7   as a general matter, the burden shall be on the person making the designation to
 8   establish the propriety of the designation. Any contested information shall continue to
 9   be treated as confidential and subject to this Protective Order until such time as such
10   motion has been ruled upon.
11            10.   Use of Confidential Documents or Information at Trial. Nothing
12   in this Order shall be construed to affect the use of any document, including any such
13   document designated as Confidential Information, at any trial or hearing.
14            11.   Right to Assert Other Objections. By stipulating to the entry of
15   this Order, no party waives any right it otherwise would have to object to disclosing or
16   producing any document, information, or item on any ground not addressed in this
17   Order. Similarly, no party waives any right to object on any ground to the use in
18   evidence of any of the documents covered by this Order.
19            12.   Confidential Information Subpoenaed or Ordered Produced in
20   Other Litigation.
21                  (a)   If a receiving party is served with a subpoena or an order issued in
22   other litigation that would compel disclosure of any document designated in this action
23   as Confidential Information, the receiving party must so notify the designating party,
24   in writing, promptly and in no event more than three court days after receiving the
25   subpoena or order. Such notification must include a copy of the subpoena or court
26   order.
27                  (b)   The receiving party also must promptly inform in writing the party
28   who caused the subpoena or order to issue in the other litigation that some or all of the


                                                10
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 11
                                                                     11 of
                                                                        of 16
                                                                           16




 1   documents covered by the subpoena or order is the subject of this Order. In addition,
 2   the receiving party must deliver a copy of this Order promptly to the party in the other
 3   action that caused the subpoena to issue.
 4                (c)     The purpose of imposing these duties is to alert the interested
 5   persons to the existence of this Order and to afford the designating party in this case
 6   an opportunity to try to protect its Confidential Information in the court from which
 7   the subpoena or order issued. The designating party shall bear the burden and the
 8   expense of seeking protection in that court of its Confidential Information, and nothing
 9   in these provisions should be construed as authorizing or encouraging a receiving party
10   in this action to disobey a lawful directive from another court. The obligations set forth
11   in this paragraph remain in effect while the party has in its possession, custody or
12   control Confidential Information by the other party to this case.
13         13.    Obligations on Conclusion of Litigation.
14                (a)     Order Continues in Force. Unless otherwise agreed or ordered,
15   this Order shall remain in force after dismissal or entry of final judgment not subject
16   to further appeal.
17                (b)     Obligations at Conclusion of Litigation. Any retained
18   Confidential Information shall continue to be protected under this Order.
19         14.     Order Subject to Modification. This Order shall be subject to
20   modification by the Court on its own initiative or on motion of a party or any other
21   person with standing concerning the subject matter.
22         15.     No Prior Judicial Determination. This Order is entered based on
23   the representations of the parties and for the purpose of facilitating discovery. Nothing
24   herein shall be construed or presented as a judicial determination that any document
25   designated Confidential Information by counsel or the parties is entitled to be filed
26   under seal or protected under Rule 26(c) of the Federal Rules of Civil Procedure or
27   otherwise until such time as the Court may rule on a specific document or issue.
28


                                                 11
          Case
          Case 2:20-cv-00511-RFB-DJA
               2:20-cv-00511-RFB-DJA Document
                                     Document 38
                                              37 Filed
                                                 Filed 09/18/20
                                                       09/18/20 Page
                                                                Page 12
                                                                     12 of
                                                                        of 16
                                                                           16




 1          16.    Persons Bound. This Order shall take effect when entered and shall be
 2   binding upon all counsel of record and their law firms, the parties, and persons made
 3   subject to this Order by its terms.
 4   Dated: September 17, 2020                     /s/ Christopher E. Martin
                                                   Christopher E. Martin
 5
                                                   Polly A. Atkinson
 6                                                 Attorneys for Plaintiff
                                                   Securities and Exchange Commission
 7                                                 1961 Stout Street, Suite 1700
                                                   Denver, Colorado 80294
 8                                                 Telephone: (303) 844-1106
 9
10
11
                          {Remainder of Page Intentionally Left Blank}
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                              12
        Case
        Case 2:20-cv-00511-RFB-DJA
             2:20-cv-00511-RFB-DJA Document
                                   Document 38
                                            37 Filed
                                               Filed 09/18/20
                                                     09/18/20 Page
                                                              Page 13
                                                                   13 of
                                                                      of 16
                                                                         16




 1   Dated: September 17, 2020                /s/ Theodore L. Kornobis
                                              THEODORE L. KORNOBIS (D.C. Bar
 2                                            No. 997236)
                                              admitted pro hac vice
 3                                            Email: ted.kornobis@klgates.com
                                              STEPHEN G. TOPETZES (D.C. Bar No.
 4                                            424593)
                                              admitted pro hac vice
 5                                            Email: Stephen.topetzes@klgates.com
                                              STAVROULA E.
 6                                            LAMBRAKOPOULOS (D.C. Bar No.
                                              453167)
 7                                            admitted pro hac vice
                                              Email:
 8                                            stavroula.lambrakopoulos@klgates.com
                                              K&L Gates LLP
 9                                            1601 K St. N.W.
                                              Washington, D.C. 20006
10                                            Telephone: (202) 778-9000
11                                            ROBERT J. CASSITY
                                              Nevada Bar No. 9779
12                                            Email: bcassity@hollandhart.com
                                              SYDNEY R. GAMBEE
13                                            Nevada Bar No. 14201
                                              Email: srgambee@hollandhart.com
14                                            HOLLAND & HART LLP
                                              9555 Hillwood Drive, 2nd Floor
15                                            Las Vegas, NV 89134
                                              Telephone: (702) 669-4600
16
                                              Attorneys for Defendant Bradley C.
17
                                              Reifler and the Relief Defendants
18
19
20                                            IT IS SO ORDERED:
21
22
23
                                              HONORABLE
                                              Daniel J. AlbregtsDANIEL J.
24                                            ALBREGTS
                                              United States Magistrate Judge
25                                            UNITED STATES MAGISTRATE
                                              JUDGE
                                              DATED: September 18, 2020
26
27
28


                                         13
         Case
         Case 2:20-cv-00511-RFB-DJA
              2:20-cv-00511-RFB-DJA Document
                                    Document 38
                                             37 Filed
                                                Filed 09/18/20
                                                      09/18/20 Page
                                                               Page 14
                                                                    14 of
                                                                       of 16
                                                                          16




 1                            CERTIFICATE OF SERVICE
 2
           I certify that on September 17, 2020, I caused the foregoing document to be
 3
     electronically filed with the Court using the ECF system, which will send notification
 4
 5   of such filing to ECF-registered counsel.
 6
 7
                                                      /s/ Christopher E. Martin
 8
                                                      Christopher E. Martin
 9
                                                      Attorney for Plaintiff
10
                                                      Securities and Exchange Commission
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                 14
         Case
         Case 2:20-cv-00511-RFB-DJA
              2:20-cv-00511-RFB-DJA Document
                                    Document 38
                                             37 Filed
                                                Filed 09/18/20
                                                      09/18/20 Page
                                                               Page 15
                                                                    15 of
                                                                       of 16
                                                                          16




 1                                      Attachment A
 2   CHRISTOPHER E. MARTIN (AZ. Bar No. 018486)
     admitted pro hac vice
 3   Email: martinc@sec.gov
     POLLY A. ATKINSON (CO. Bar No. 18703)
 4   admitted pro hac vice
     Email: atkinsonpolly@sec.gov
 5
     Attorneys for Plaintiff
 6   Securities and Exchange Commission
     1961 Stout Street, Suite 1700
 7   Denver, Colorado 80294
     Telephone: (303) 844-1106
 8
 9
                           UNITED STATES DISTRICT COURT
10
                                  DISTRICT OF NEVADA
11
12    SECURITIES AND EXCHANGE
      COMMISSION,
13                                                 Case No. 20-cv-00511-RFB-DJA
                   Plaintiff,
14
15           vs.
                                                   ACKNOWLEDGMENT OF
16    BRADLEY C. REIFLER,                          UNDERSTANDING AND
                                                   AGREEMENT TO BE BOUND
17                 Defendant,
18    and
19    FOREFRONT PARTNERS, LLC                      Judge Richard F. Boulware, II
20    FOREFRONT CAPITAL SERVICES,                  Magistrate Judge Daniel J. Albregts
      LLC, and
21    PORT ROYAL-NCM, LLC,
22                 Relief Defendants.
23
24          The undersigned hereby acknowledges that he/she has read the Protective

25   Order dated                                   in the above-captioned action and

26   attached hereto, understands the terms thereof, and agrees to be bound by its terms.

27   The undersigned submits to the jurisdiction of the United States District Court for the

28   District of Nevada in matters relating to the Protective Order and understands that the


                                              15
         Case
         Case 2:20-cv-00511-RFB-DJA
              2:20-cv-00511-RFB-DJA Document
                                    Document 38
                                             37 Filed
                                                Filed 09/18/20
                                                      09/18/20 Page
                                                               Page 16
                                                                    16 of
                                                                       of 16
                                                                          16




 1   terms of the Confidentiality Order obligate him/her to use documents, materials, and
 2   information designated as Confidential Information in accordance with the Order
 3   solely for the purposes of the above-captioned action, and not to disclose any such
 4   Confidential Information to any other person, firm or concern.
 5           The undersigned acknowledges that violation of the Protective Order may
 6   result in penalties for contempt of court.
 7
 8
 9
     Name:
10
11   Job Title:

12   Employer:
13   Business Address:
14
15
16
17
18   Date:

19                                     Signature
20
21
22
23
24
25
26
27
28


                                                  16
